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     Federal Defender
2
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3    Assistant Federal Defender
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5    Telephone: (916) 498-5700
6
     Attorney for Defendant
7    JESUS LUPIAN
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,      ) No. 2:07-cr-00298-MCE
14                                  )
                    Plaintiff,      )
15                                  ) STIPULATION AND ORDER CONTINUING
          v.                        ) CASE AND EXCLUDING TIME
16                                  )
     JESUS LUPIAN                   )
17                                  ) Date: September 6, 2007
                    Defendant.      ) Time: 9:00 a.m.
18                                  ) Judge: Hon. Morrison C. England, Jr.
     ______________________________ )
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21         IT IS HEREBY STIPULATED by and between Assistant United States
22   Attorney Heiko P. Coppola, counsel for Plaintiff, Assistant Federal
23   Defender Jeffrey L. Staniels, counsel for Defendant Lupian that the
24   above case be dropped from this court’s September 6, 2007, calendar,
25   that it be continued until September 13, 2007, at 9:00 a.m., and that
26   time be excluded between September 6, 2007, and September 13, 2007,
27   pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(iv). Local Code T-4.
28   ///
              Case 2:07-cr-00298-MCE Document 21 Filed 08/29/07 Page 2 of 2


1          This continuance is sought in order to conduct discussions and
2    further consultation preparation for possible resolution of the case.
3          IT IS SO STIPULATED.
4
5    Dated:    August 28, 2007             /S/ Heiko P. Coppola
                                          HEIKO P. COPPOLA
6                                         Assistant United States Attorney
                                          Counsel for Plaintiff
7
8
     Dated:    August 15, 2007             /S/ Jeffrey L. Staniels
9                                         Jeffrey L. Staniels
                                          Assistant Federal Defender
10                                        Counsel for Defendant
                                          FRANCISCO BUCIO
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12
                                           O R D E R
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14         IT IS SO ORDERED.
15
16    Dated: August 29, 2007

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                                             _____________________________
18                                           MORRISON C. ENGLAND, JR.
19                                           UNITED STATES DISTRICT JUDGE

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     Stipulation & Order
     Continuing Case and Excluding Time        2
